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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
CHANDRA KANTOR

     VS                                         CASE NO.   3:16CV449 RV/GRJ

DANIEL CHERRY, et al.

                           REFERRAL AND ORDER

Referred to Judge Vinson on 10/30/2017
Type of Motion/Pleading Second MOTION to Amend/Correct Affirmative
Defenses to Add Fabre Defendants
Filed by: Defendants             on 10/17/17     Doc. No. 150
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
Plaintiff                        on 10/30/17     Doc. No. 153
                                 on              Doc. No.
                                 JESSICA J. LYUBLANOVITS
                                 CLERK OF COURT

                                  /s/ Sylvia Williams
                                  Deputy Clerk: Sylvia Williams

                                  ORDER
Upon consideration of the foregoing, it is ORDERED this 31st   day of
 October                      , 2017, that:
(a) The requested relief is GRANTED for the same reasons set out in
     my order of October 3, 2017 (doc. 149).
(b)




                                  /s/ Roger Vinson
                                  ROGER VINSON
                                  SENIOR UNITED STATES DISTRICT JUDGE
